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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA

                      v.

EDWARD CONSTANTINESCU,
PERRY “PJ” MATLOCK,
JOHN RYBARCZYK,
                                              Case No. 22-CR-00612
GARY DEEL,
STEFAN HRVATIN,
TOM COOPERMAN
MITCHELL HENNESSEY,
DANIEL KNIGHT

Defendants.




             ORDER GRANTING UNOPPOSED MOTION FOR
       STIPULATED PROTECTIVE ORDER GOVERNING DISCOVERY

       Upon the unopposed motion of the United States, pursuant to Fed. R. Crim. P. 16(d),

and the Court having found that discovery in this case contains sensitive, proprietary, and

confidential financial and business information, the unprotected disclosure of which could

create a substantial risk of harm to non-parties, it is hereby ORDERED:

       1.     With the exception of publicly available documents and documents

contained in the defendants’ own electronic devices and accounts, including any

documents, objects, data, or information that originally belonged to the defendants

(“Excluded Materials”), and without limiting the defendants’ rights under the United States

Constitution or the Federal Rules of Criminal Procedure, all materials provided by the

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United States in this case, pursuant to Rule 16 of the Federal Rules of Criminal Procedure,

Title 18, United States Code, Section 3500; Brady v. Maryland; or Giglio v. United States,

are subject to this protective order and considered “Protected Materials.”

       2.     Protected Materials may be used by the defendants and defendants’ counsel

(defined as counsel of record in this case) solely in connection with the defense of this case,

including any appeal thereof. Defendants may also use Protected Materials in S.E.C. v.

Constanin, et al., 4:22-cv-04306 (“SEC Case”), provided that such use is consistent with

the provisions of this Order as set forth below. Neither the defendants nor defendants’

counsel may use Protected Materials for any other purpose or in any other proceeding

without further order from this Court.

       3.     Defendants and defendants’ counsel shall not disclose Protected Materials or

their contents directly or indirectly to any person or entity other than persons employed to

assist in the defense, persons who are interviewed as potential witnesses, counsel for

potential witnesses, and other persons to whom the Court may authorize disclosure

(collectively, “Authorized Persons”).

       4.     Defendants, defendants’ counsel, and Authorized Persons shall not copy or

reproduce Protected Materials except to provide copies of for use in connection with this

case or the SEC Case by defendants, defendants’ counsel, and Authorized Persons. Such

copies and reproductions shall be treated in the same manner as the original Protected

Materials.


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       5.     Defendants, defendants’ counsel, and Authorized Persons shall not disclose

any notes or records of any kind that they make in relation to the contents of Protected

Materials, other than to Authorized Persons, and all such notes or records are to be treated

in the same manner as the original Protected Materials.

       6.     This Order does not prevent the disclosure of Protected Materials in any

motion, hearing, trial, sentencing or proceeding held in this action or the SEC Case or to

any district judge or magistrate judge of this Court (or their staff), including but not limited

to by filing any such Protected Material electronically via Electronic Case Filing (ECF) in

this action or the SEC Case.

       7.     Upon conclusion of all stages of this case, all Protected Materials (except

those that have been made part of the record of this case or the SEC Case) and all copies

made thereof shall be disposed of in one of three ways, unless otherwise ordered by the

Court. The Protected Materials may be (1) destroyed; (2) returned to the United States; or

(3) retained in each defendants’ counsel’s case file. The Court may require a certification

as to the disposition of any such Protected Materials. In the event that the Protected

Materials are retained by defense counsel, the restrictions of this Order continue in effect

for as long as the Protected Materials are so maintained, and the Protected Materials may

not be disseminated or used in connection with any other matter without further order of

the Court.




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       8.     To the extent that any documents, objects, or information are mistakenly

produced by the United States to defendants or defendants’ counsel, the United States shall

have the right to request the return of the specified documents, objects, or information and

shall do so in writing. Within five days of the receipt of such a request, each respective

defendant and/or that defendant’s counsel shall either (1) return all such mistakenly

produced material if in hard copy, or in the case of electronic materials, shall certify in

writing that all copies of the specified mistakenly produced material have been

permanently deleted from any location in which the material was stored, or (2) file an

appropriate motion with the Court requesting permission to retain the materials. In the

event a defendant moves to retain the materials, such defendant is permitted to retain the

mistakenly produced materials pending the Court’s determination with respect to the

motion and unless the Court orders the return or permanent deletion of the materials as

described above.

       9.     The restrictions in this Order do not apply to Excluded Materials and

documents that are or become part of the public court record, including documents that are

received in evidence at trial, nor do the restrictions in this Order limit defendants’ counsel

in the use of discovery materials in representing their client in judicial proceedings in this

case or the SEC Case.

       10.    The terms of this Order shall not apply to materials, including documents,

objects, data, or information received by defendants or defendants’ counsel from a source


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other than the Government. To the extent that the Government’s discovery contains

materials and information that are also publicly available or contained in the defendants’

own electronic devices, documents, and accounts, nothing in this Order shall restrict the

defendants’ use of such materials. Defendants’ counsel may challenge at any time the

Government’s designation of Protected Materials.

        11.   Nothing contained in this Order shall preclude defense counsel at any time

from entering into an agreement with the Government, and/or seeking an order from this

Court excluding certain specified discovery materials from the scope of this Order.

Additionally, nothing in this Order shall preclude any party to this Order from applying to

this Court for further relief or for modification of any provision hereof.


IT IS SO ORDERED:


ANDREW S HANEN
United States District Judge
United States District Court for the Southern District of Texas

Date:




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